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            Declaration of Sallie S.
                   Schools
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                          DECLARATION OF SALLIE S. SCHOOLS


      1. I am an Investigator with the Federal Trade Commission (“FTC”) in the Division of

         Advertising Practices, Bureau of Consumer Protection. I have been employed by the

         FTC for 19 years. I am assigned to the Washington, DC headquarters satellite office at

         400 7th Street, SW, Washington, DC 20024. My business address is FTC Headquarters,

         600 Pennsylvania Avenue, NW, Washington, DC 20580. I have personal knowledge of

         the matters contained in this Declaration.

      2. As an investigator, my duties include monitoring and investigating persons or companies

         who are suspected of engaging in unfair or deceptive acts or practices in violation of the

         FTC Act and any other laws or rules that the FTC enforces. In the course of my duties, I

         was assigned to the Roca Labs, Inc. matter.

                                          Review of Tax Returns

      3. In response to document requests, Defendants produced IRS Form 1120, U.S.

         Corporation Income Tax Returns, for tax years 2010 through 2015, for Roca Labs, Inc. I

         reviewed the tax filings and in particular noted the amounts reported for the following

         line items: 1) Gross Receipts (line 1c); and 2) Advertising (line 22).

      4. Attached hereto as Attachment A is a chart that summarizes the results of my review of

         the tax filings, as explained below.

      5. I listed the amounts reported for each line item described in paragraph 3 above for each

         tax year from 2010 through 2015. I added the numbers for each tax year to determine a

         grand total of Gross Receipts and Advertising expenditures.




                                                                                            PX24-1
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                          Declaration of Sallie S. Schools
                                  Attachment A




                                                                        PX24-3
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                  Federal Trade Commission v. Roca Labs, Inc.
                          No. 8:15‐cv‐2231‐MSS‐TBM


                         Roca Labs, Inc. federal tax filings

                 Tax        Gross Receipts               Advertising         
                 Year             (line 1c)                 (line 22)
                  2010    $            732,195.88   $            423,247.75
                  2011    $         3,861,761.67    $         1,764,169.30
                  2012    $         4,480,678.00    $         1,513,369.00
                  2013    $         6,999,181.00    $         3,530,984.00
                  2014    $         6,777,318.99    $         2,159,508.92
                  2015    $         4,512,289.97    $         2,409,978.57
                TOTAL     $      27,363,425.51      $      11,801,257.54




                                                                                PX24-4
